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                     EXHIBIT 1
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                                                  EFiled: Aug 07 2017 11:43PM EDT
                                                  Transaction ID 60951728
                                                  Case No. 2017-0567-
          IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
DOHMEN LIFE SCIENCES SERVICES, )
LLC, a Wisconsin limited liability )
company,                           )
                                   )
                  Plaintiff,       )
                                   )
     v.                            ) C.A. No. _____-___
                                   )
CORCEPT THERAPEUTICS               ) CONFIDENTIAL FILING
INCORPORATED, a Delaware           )
Corporation,                       )
                                   )
                  Defendants.      )
                                   )

                           VERIFIED COMPLAINT
                   FOR DECLARATORY RELIEF AND DAMAGES


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                                    Gregory V. Varallo (#2242)
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Dated: August 7, 2017




  A public version of this document will be filed on or before August 10, 2017.




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          IN THE COURT OF CHANCERY OF THE STATE OF DELAWARE
DOHMEN LIFE SCIENCES SERVICES, )
LLC, a Wisconsin limited liability )
company,                           )
                                   )
                  Plaintiff,       )
                                   )
     v.                            ) C.A. No. _____-___
                                   )
CORCEPT THERAPEUTICS               )
INCORPORATED, a Delaware           )
Corporation,                       )
                                   )
                  Defendants.      )
                                   )

VERIFIED COMPLAINT FOR DECLARATORY RELIEF AND DAMAGES
         Plaintiff Dohmen Life Science Services, LLC (“DLSS”), by and through its

attorneys, Richards, Layton & Finger, P.A. and Michael Best & Friedrich LLP,

complains against Defendant Corcept Therapeutics Incorporated (“Corcept”) as

follows:


                                     INTRODUCTION

         1.        This case arises out of a Pharmaceutical Manufacturer Service

Agreement (the “Exclusive Provider Agreement”) under which Defendant Corcept

contracted to use DLSS as its sole and exclusive provider of clinical and specialty

pharmacy services (the “Services”) for Defendant Corcept’s product Korlym.

         2.        Plaintiff DLSS and its predecessor have been providing Corcept with

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the Services since 2013.

      3.      Surveys performed by independent third-parties have consistently

reported that patients receiving Korlym have expressed 100% satisfaction with

DLSS’s exceptional and industry leading services.

      4.      DLSS has complied with all of its contractual obligations under the

Exclusive Provider Agreement.

      5.      DLSS has also achieved or exceeded all Key Performance Indicators

under the Exclusive Provider Agreement.

      6.      Asserting vague and ill-defined claims of material breach against

DLSS, which assertions are baseless and unsubstantiated, Corcept has unilaterally

and unlawfully terminated the Exclusive Provider Agreement without providing

DLSS with a reasonable opportunity to cure any supposed breach.

      7.      Corcept’s assertions that DLSS has somehow materially breached the

Exclusive Provider Agreement and failed to cure any supposed material breaches

are false. By making vague, inaccurate, and unsubstantiated assertions of material

breach against DLSS, and in failing to provide DLSS with the opportunity to cure

any supposed material breaches, Corcept is attempting to unilaterally and

unlawfully terminate the Exclusive Provider Agreement and avoid its obligations

thereunder.

      8.      Corcept’s predetermined plan to unilaterally terminate the Exclusive
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Provider Agreement prior to the end of the current term began with Corcept sending

DLSS a “Notice of Breach,” on June 29, 2017.

      9.     In its Notice of Breach, Corcept made only vague and conclusory

assertions that DLSS had somehow breached the Exclusive Provider Agreement.

      10.    The nebulous Notice of Breach failed to describe how DLSS was to

purportedly cure the supposed material breaches.

      11.    Without reference to any of the mutually agreed upon Key

Performance Indicators set forth in the Exclusive Provider Agreement, Corcept

sought the authority to unilaterally and arbitrarily decide for itself whether DLSS’s

performance under the Exclusive Provider Agreement was acceptable.

      12.    Within a week of receiving the “Notice of Breach,” DLSS established

a multi-disciplinary team to fully investigate Corcept’s ill-defined and overly

general assertions of breach and verified that Corcept’s assertions were

unsubstantiated.

      13.    Because DLSS strives for client satisfaction, DLSS’s President and the

CEO of DLSS’s parent corporation traveled to Corcept’s headquarters to personally

meet with Corcept in an effort to understand Corcept’s assertions as well as any

new requirements that Corcept sought to unilaterally include in the Exclusive

Provider Agreement.

      14.    More specifically, DLSS directly asked Corcept to provide any new
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proposed process enhancements that Corcept desired and any new proposed Key

Performance Indicators that Corcept sought to use.

         15.   Corcept was unable or unwilling to provide such information to DLSS.

         16.   It became apparent in the following weeks that the Notice of Breach

was merely a pretext to terminate the Exclusive Provider Agreement prior to the

expiration of the current term.

         17.   Corcept then sent a letter purporting to terminate the Exclusive

Provider Agreement on August 4, 2017, which had been Corcept’s true desire all

along.

                        The Parties, Jurisdiction, and Venue

         18.   DLSS is a limited liability company organized and existing under the

laws of the State of Wisconsin with its principal place of business located at 190

North Milwaukee Street, Milwaukee, Wisconsin 53202.

         19.   DLSS traces its roots to 1858, when Friedrich W. Dohmen opened

Wisconsin’s first wholesale drug store in Milwaukee. DLSS has remained family-

owned for the last 159 years and has grown to become a recognized leader in

providing business process outsourcing services to over 400 pharmaceutical and

medical device companies ranging in size from Fortune 50 companies to early start-

up companies.

         20.   DLSS provides patient services, financial services, channel support
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services, regulatory compliance services, and technology services to orphan drug,

biopharma, biologic and medical device companies.

      21.    Corcept is a publicly-traded corporation organized and existing under

laws of the State of Delaware with its principal place of business located at 149

Commonwealth Drive, Menlo Park, California 94025.

      22.    Corcept’s largest shareholder is Longitude Venture Partners L.P., who

invests in life sciences start-ups in an effort to “pursue liquidity opportunities in a

manner that optimizes returns to key stakeholders.”

      23.    The Exclusive Provider Agreement requires that all “legal or equitable

action[s] arising out of this Agreement shall be brought exclusively in federal or

state court having jurisdiction in Delaware.”

      24.    Venue is proper in this Court due to the exclusive venue provision in

the Exclusive Provider Agreement and because Corcept is a Delaware corporation.

                                     Background

      25.    Corcept manufactures and markets a pharmaceutical drug called

Korlym.

      26.    Korlym is Corcept’s only FDA-approved drug.

      27.    The FDA approved Korlym for use by patients with endogenous

Cushing Syndrome on February 17, 2012.

      28.    Cushing Syndrome is a rare disease that affects 1.2 to 1.7 people per
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million.

      29.    On May 21, 2013, Corcept contracted with Centric Health Resources,

Inc. (“CHR”), a former DLSS affiliate which was subsequently merged with and

into DLSS, to be the exclusive provider of a suite of services related to Korlym

distribution. A complete and accurate copy of the Exclusive Provider Agreement is

attached and incorporated herein as EXHIBIT A.

      30.    Under the Exclusive Provider Agreement, DLSS provides specialty

pharmacy services; patient intake, access and reimbursement services; patient

support services; claims management and collections services; and finance and

inventory reporting services on behalf of and for the benefit of Corcept as described

in the exhibits to the Exclusive Provider Agreement.

      31.    The Exclusive Provider Agreement defines these services as the

“Program.”

      32.    The Exclusive Provider Agreement provides for an initial term of three

years and automatic renewal for additional three year terms, unless either party

gives written notice of non-renewal at least 180 days before the expiration of the

current term.

      33.    As evidence of Corcept’s satisfaction with DLSS’s exemplary service,

Corcept renewed the Exclusive Provider Agreement effective June 24, 2016.

      34.    The current term of the Exclusive Provider Agreement is set to expire
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on June 24, 2019.

      35.   Section 5.2.2 provided that the Exclusive Provider Agreement could be

terminated for cause if either party committed a “material breach”:

      This Agreement may be terminated by the non-breaching party giving
      written notice of such termination to the other party if the other party
      breaches a material provision of this Agreement (which includes the
      obligation to comply with SOPs) and such breach remains uncured for
      thirty (30) days . . . following the breaching party’s receipt of written
      notice of such breach from the non-breaching party.

      36.   The Exclusive Provider Agreement does not further define what is a

“material provision” of the Exclusive Provider Agreement.

      37.   The Exclusive Provider Agreement was amended in July 2013, with an

effective date of May 16, 2013. A complete and accurate copy of the First

Amendment is attached and incorporated herein as EXHIBIT B.

      38.   At the request of Corcept, the First Amendment added certain “Key

Performance Indicators” (or “KPIs”) to the Exclusive Provider Agreement to

provide a measurable goal and objective for a successful Program.

      39.   If DLSS met the KPI targets, Corcept agreed to pay DLSS specified

performance bonuses.

      40.   If, however, DLSS did not meet the KPI targets, Corcept could

exercise certain rights including termination of the Exclusive Provider Agreement.

      41.   The parties executed a Second Amendment to the Exclusive Provider

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Agreement on October 6, 2014. A complete and accurate copy of the Second

Amendment is attached and incorporated herein as EXHIBIT C.

      42.    Among other things, the Second Amendment acknowledged DLSS as a

“successor in interest” to CHR.

      43.    The Exclusive Provider Agreement requires the application of

Missouri law to its interpretation and performance.

      44.    To effectuate the Program, DLSS used its proprietary Standard

Operating Procedures (“SOPs”) which are based upon DLSS’s extensive industry

experience and know-how.

      45.    DLSS also developed proprietary SOPs specific to the Program itself.

      46.    Under the Program and in accordance with the SOPs, Corcept would

consign and deliver Korlym to DLSS, and DLSS would handle (on behalf of and for

the benefit of Corcept) all of the patient enrollment and consultation, claims

submissions, product distribution, and collections of payments from payers

(including insurers and Medicare/Medicaid programs) and co-pays from patients.

      47.    Although DLSS would come into possession of the Korlym tablets,

Corcept retained title to the Korlym tablets until the patients physically took

possession of the tablets.

      48.    As part of the Program, DLSS managed the relationship with payers.

      49.    Corcept would provide DLSS with a range of prices for Korlym and
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task DLSS with negotiating with Pharmacy Benefit Managers (“PBMs”) and payers

to establish the prices that PBMs and payers would pay for Korlym.

      50.    In addition, DLSS would negotiate with PBMs and payers to establish

criteria for determining when PBMs and payers would approve of and pay for a

Plan participant’s use of Korlym.

      51.    Korlym often costs tens of thousands of dollars per month per patient

depending on a number of factors.

      52.    Given these costs, payers and PBMs impose an intense and exacting

process in determining whether to approve Korlym claims.

      53.    The intense and exacting claims approval process, however, can result

in delays that are out of DLSS’s control.

      54.    DLSS also worked one-on-one with patients to educate and assist

patients on coverage, co-pay, co-insurance, and deductible responsibilities.

      55.    On June 30, 2017, Corcept sent DLSS a Notice of Breach. A complete

and accurate copy of the Notice of Breach is attached and incorporated herein as

EXHIBIT D.

      56.    The Notice of Breach asserted that DLSS committed various “material

breaches” of the Exclusive Provider Agreement.

      57.    Corcept, however, has conducted annual quality reviews of DLSS, and

has never previously reported any deficiency or observation of material concern.
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        58.   Conspicuously, the Notice of Breach did not assert that DLSS failed to

meet any of the Key Performance Indicators, which the parties agreed would be the

basis in the Exclusive Provider Agreement as a measurable goal and objective for a

successful Program.

        59.   The Notice of Breach also did not directly assert that DLSS failed to

follow any SOPs; rather the Notice of Breach asserted that Corcept could not

determine whether DLSS was complying with the SOPs.

        60.   Prior to entering the Exclusive Provider Agreement, and as part of the

annual quality audit, DLSS made all of its SOPs available to Corcept upon request.

        61.   Corcept has never identified any purported deficiencies with DLSS’s

SOPs.

        62.   At all times DLSS has been in material compliance with the SOPs.

        63.   Indeed, Corcept recently audited DLSS’s SOPs and found no material

issues.

        64.   The Notice of Breach instead focused on a list of vague, generalized

grievances and cherry-picked anecdotes to prop up its false assertions that DLSS

committed a material breach.

        65.   For example, the Notice of Breach asserted that DLSS engaged in poor

inventory tracking and mismanagement of inventory.

        66.   In fact, DLSS engages independent third-party auditors to conduct
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annual Service Organization Control Type 1 (“SOC-1”) audits, and such

independent, third-party auditors have reported no deficiencies in DLSS’s inventory

processes and systems.

       67.   DLSS has performed consistently at or above recognized industry

benchmarks for inventory accuracy.

       68.   As another example, the Notice of Breach asserted that DLSS was

unable to recover shipments lost by the freight carrier.

       69.   Pursuant to Section 8.8(b) of the Exclusive Services Agreement,

Corcept has the right to select its preferred freight.

       70.   Further, Corcept agreed that DLSS is only responsible for Korlym

during the time Korlym is in the custody of DLSS, and that Corcept’s sole recourse

for delay in the delivery of Korlym while in transit is an action against the freight

carrier.

       71.   In fact, under Section 8.8(b) of the Exclusive Services Agreement,

Corcept waived and released DLSS of all freight claims.

       72.   Nevertheless, DLSS worked with Corcept’s selected freight carrier to

recover lost packages.

       73.   In reality, however, the freight carrier has not lost any Korlym

shipments in 2017 and only two shipments in 2016, both of which were recovered

and returned.
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      74.    The Notice of Breach expressed unfounded concerns that DLSS would

be unable adequately to track Korlym in the event of a hypothetical product recall.

      75.    To the contrary, DLSS quality personnel have successfully conducted

simulated recalls on an annual basis.

      76.    The Notice of Breach expressed unfounded concerns that DLSS was

unprepared to comply with FDA regulations promulgated under the Drug Supply

Chain Security Act.

      77.    These regulations do not become effective until late 2017;

nevertheless, DLSS has fully developed a solution ready for implementation and

has contacted Corcept regarding implementation for Korlym.

      78.    The Notice of Breach asserted that, in Corcept’s view, DLSS had not

obtained “prior authorizations” from payers in a timely enough manner.

      79.    The Exclusive Provider Agreement does not specify a target for prior

authorization approval nor is it a Key Performance Indicator.

      80.    The current average turn-around time for prior authorization by payers

for Korlym stands at a mere 11.5 days.

      81.    Despite the increasingly complex requirements imposed by PBMs and

relevant payers, and despite the increasing volume of claims submissions, DLSS

has actually shortened the average turn-around time for prior authorizations, year

over year.
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      82.    The speed of prior authorization is driven by the PBMs’ and payers’

responsiveness or lack thereof —not DLSS.

      83.    The Notice of Breach also asserted that, in Corcept’s view, DLSS was

not diligently pursuing medical appeals of insurance coverage denials of Korlym

claims.

      84.    The Exclusive Provider Agreement does not specify a standard or

targeted time by which to process medical appeals nor is it a Key Performance

Indicator.

      85.    Moreover, DLSS has been following Corcept’s own SOP in pursuing

medical appeals.

      86.    DLSS was diligent in pursuing medical appeals.

      87.    Again, the speed at which payers process those appeals is largely out

of DLSS’s control.

      88.    The Notice of Breach asserted that DLSS mismanaged claim

submission, resubmission and collections.

      89.    Contrary to Corcept’s assertions, DLSS has achieved an extraordinary

success rate in expected reimbursement amounts versus actual reimbursement

amounts.

      90.    Further, DLSS has achieved an exceptional collection success rate.

      91.    The Notice of Breach also asserted that DLSS’s financial reporting was
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somehow inaccurate or flawed such that it constituted a material breach of the

Exclusive Provider Agreement.

      92.    In fact, DLSS generates six daily reports, of which Corcept approved

the basic content and format.

      93.    Moreover, an outside audit confirmed that DLSS’s financial reporting

performance was consistently accurate and reliable.

      94.    The Notice of Breach also insinuated that DLSS somehow violated

Missouri pharmacy laws.

      95.    In fact, the Missouri Board of Pharmacy audited DLSS in May 2017

and reported no findings or observations related to policies, procedures, inventory,

storage, distribution or dispensing records.

      96.    DLSS promptly responded to the Notice of Breach, by letter dated July

3, 2017 from the CEO of DLSS’s parent corporation. A complete and accurate

copy of the Response Letter is attached and incorporated herein as EXHIBIT E.

      97.    On July 12, 2017 the CEO of DLSS’s parent corporation and the

President of DLSS, met with Charlie Robb, Corcept’s CFO, and Sean Maduck,

Corcept’s Senior-Vice President Commercial in San Francisco (the “July 12

Meeting”).

      98.    Although the assertions in the Notice of Breach were false, DLSS

nevertheless wanted to understand any concerns that Corcept had and to address
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any of Corcept’s new expectations that were not expressed in the Exclusive

Provider Agreement.

      99.    At all times, DLSS was willing and eager to meet any reasonable new

expectations of Corcept that were not expressed in the Exclusive Provider

Agreement.

      100. During the July 12 Meeting, the parties went through the Notice of

Breach, point-by-point. A complete and accurate copy of DLSS’s presentation is

attached and incorporated herein as EXHIBIT F.

      101. Corcept was unable to refute DLSS’s evidence of full compliance with

the requirements of the Exclusive Provider Agreement.

      102. At each point, DLSS directly asked Corcept specifically what Corcept

would like DLSS to do differently, what new policies or SOPs Corcept would like

DLSS to implement, and how DLSS should resolve any purported concerns and

“cure” any supposed breaches.

      103. Corcept was unable to identify with any reasonable specificity how

Corcept could possibly be satisfied.

      104. It became apparent that Defendant’s wrongful termination of the

Exclusive Provider Agreement was a foregone conclusion.

      105. On information and belief, the Notice of Breach and the sham “cure

period” were merely pretexts to wrongfully terminate the Exclusive Provider
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Agreement to avoid Corcept’s ongoing obligations under the Exclusive Provider

Agreement.

      106. This suspicion was confirmed in a follow-up meeting between DLSS’s

President and Sean Maduck, Corcept’s Senior-Vice President Commercial on July

18, 2017 in Denver, and in follow-up telephone calls and correspondence.

      107. During the supposed “cure period” Corcept spoke of a replacement

service provider whose name Corcept would not reveal, insinuating the Corcept’s

decision to terminate the Exclusive Provider Agreement was predetermined.

      108. On August 4, 2017, Corcept improperly and unlawfully terminated the

Exclusive Provider Agreement in violation of its own terms. A complete and

accurate copy of the termination letter is attached and incorporated herein as

EXHIBIT G.

      109. Within two hours, Corcept sent a letter to DLSS directing DLSS to

perform post-termination “transitional services.” A complete and accurate copy of

the transition letter is attached and incorporated herein as EXHIBIT H.

      110. DLSS responded to both letters on August 7, 2017. A complete and

accurate copy of the response letter is attached and incorporated herein as

EXHIBIT I.

                        COUNT I: Declaratory Judgment

      111. DLSS incorporates the preceding paragraphs as if fully set forth herein.
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      112. DLSS and Corcept entered into the Exclusive Provider Agreement,

including the amendments thereto, a valid, enforceable contract supported by

adequate consideration, which is attached to this Complaint as Exhibits A, B, and C.

      113. DLSS and Corcept dispute the meaning of the Exclusive Provider

Agreement.

      114. A real and justiciable controversy exists between DLSS and Corcept

regarding the interpretation and application of the Exclusive Provider Agreement as

evidenced by, among other things Exhibits D-I.

      115. DLSS is entitled to a legal declaration stating that:

             a. DLSS has not materially breached the Exclusive Provider

                Agreement;

             b. Corcept has wrongfully terminated the Exclusive Provider

                Agreement; and

             c. To the extent that the Exclusive Provider Agreement is terminated,

                DLSS has no further service obligations.


                         COUNT II: Breach of Contract

      116. DLSS incorporates the preceding paragraphs as if fully set forth herein.

      117. DLSS and Corcept entered into the Exclusive Provider Agreement, a

valid, enforceable contract supported by adequate consideration, which is attached

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to this Complaint as Exhibits A, B, and C.

      118. DLSS performed and fulfilled its obligations under the Exclusive

Provider Agreement.

      119. Corcept breached the Exclusive Provider Agreement by, among other

things:

             a. Wrongfully terminating the Exclusive Provider Agreement prior to

                its expiration;

             b. Breaching its duties under the contract by refusing to disclose to

                DLSS what steps Corcept wanted DLSS to take or what Key

                Performance Indicators Corcept wanted DLSS to satisfy in order to

                “cure” the supposed breaches, thus frustrating DLSS’s ability to

                avail itself of its contractual right to cure; and

             c. Breaching the implied duty of good faith and fair dealing by forcing

                DLSS to participate in a sham cure period.

      120. As a direct and proximate result of the above breaches, DLSS has

suffered damages.

      121. DLSS is entitled to compensatory damages in an amount to be

determined at trial.

      WHEREFORE, DLSS respectfully requests that the Court enter its Orders,

Judgments, and Decrees:
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     a.          Declaring that DLSS has not materially breached the Exclusive

                 Provider Agreement;

     b.          Declaring that Corcept has wrongfully terminated the Exclusive

                 Provider Agreement;

     c.          Declaring that to the extent that the Exclusive Provider

                 Agreement is terminated, DLSS has no further service

                 obligations;

     d.          Decreeing that Corcept specifically perform the Exclusive

                 Provider Agreement, or in the alternative, ordering payments of

                 damages in an amount to be determined at trial;

     e.          Awarding DLSS attorneys’ fees and costs as allowed by the

                 Exclusive Provider Agreement;

     f.          Awarding DLSS pre- and post-judgment interest as provided by

                 law; and

     g.          Awarding all such further relief that the Court deems just and

                 equitable.




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